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                  EXHIBIT 2
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 CONFIDENTIAL




                                     ST~·BARNABAS HOSPITAL .
         s-f.·BARNABAS R.1diA:BiL1TAT10N A1'in ·coNtiNu~NG CAttECENTER ·
                                       BRONX, NEW YORK ··:



    ~******** **
          .    .
                          **** ***'**************'*******'* *************'*****·:ii****:***:.
    #·*:i:·ii***'*********·•I<
                   ·. . ·.·.. ****·*·*****'*********'****.********'''***********'**';:*·*·:
                                                                      .    .   .   .     .



                .   .   .. .. ..   ··.:EMPLOYEE HAJVJJBOO/(
      ***** ***** *** ** * **'***'*** ***** ***** ****""* * *•* ******* ** **** **:;:·* **** **·.
   ·. **.** **·*>!il!< *** ,;;:**•****** **"'* "'"' *** **** ***•*** **** **** *'* **'** *** ***** ** **




   l/;   1-1-2013



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      CONFIOENTIAL



                                            YOUR.EMPLOYEE HANDBOOK

         ·This E.mployee handbook js designed ·as ·a hel_pful gu.ide for you to: use as y0u become
          acquainted with yol.u· taskS and responsibilities as an employee of St. Barnabas: .It is not
         .arf emplpyn}ei11: contract and it does: not create oi· define aiiy rights ·associated wlth.y9ur
         ·employnient> It should help·you uridersfand the goals ah~ expectations of.the Facil.ity as
        : t~eyriiay be deffaed"fro1htimeto tinW · · · · · ·                    ·                    ·

       .·.. we·h~v¢: attempted to ':furnish yoli.-..vitq iriformat:ion itJ a!l: "easy·tO-read''.for111-·in o:rderto .
                            '·




        .·help you Olmderstand the policies an.d prac~ices that gl,liqe ·$t Barnab~s, .yo.ur ·obliga~iOns ·
        . a$ an"eni~Ioy~e, and the b¢riefits an<,i ser\rices available to you. .              .          ..        . ..

        . This revi~~d Employe~ i.raridbook ~nd. the polic;ies it contains supetsed¢S allprevioµs St..
        ·}3~rnaba~ personnel ha"ndhooks; :a1id polic;ies_. ·We. resetve. the rjght .to m6dify, alter :or
        ·dlscoritinue Without·not~~e a.ny_·Jfoli~ies, described her¢. .              ·     · · ·

        • N~turally, w~ ~fo. iiot expei:;i this ha11dbook to providl~ an ans,,Yet to al.I of.yo:ut q:Ue$tions .
        . :Ji is .a:i~ays~a good.idea. tp disc\iss ruJy questiof1s· you tiiay have witb· yom··$upe.i-vlsoJ• oi·
      .. 'Departm.eni' Head. ' You !nay also ~oi1tact Huliian ·Rc$o1Jrces; at·any time~ : for additional .
··     >"'assistance. ,           .    .        . .     ..   ...         .         .    . .       . ..        ..              ..
                                                              . .

                                              ' .· .
                                                  ST. BARNABAS.       .
                                              PERSONNEL.:P1-m,OSOPHY.
       ··   . . ...

         St. Barnabas' personnel policies are ·designed to ·promote the mutu~l ~n·ci~rstru~din.g,• ·. .
         respect and cooperation which are so necessary             to
                                                             the success of the Iirntitution. E,very. ·
        .member of the St. Bamabas managemei1t team is dedicated                         to
                                                                               carrying ·out these '
         principles which are intended to-· foster. excellent n1edicai care and encourage better
         Employee relations.


                                 D.R.l.V.E. To PAUENT CENTERED EXCELLENCE                         :

      · .. Vision Staremen1; To be the hospital of choice in th.e Bron~,. with super.ioT service a11d .
        'innovative programs that.meet the diverse needs oftl1e c6n1munity.                                               ·        ·

      · · Core Vafi,es:
         Diversity        Respect           Integrity         Vision             · ·Excellence

       · Mission Stalement: St. 'Barnabas is c~mmitted to impro\ ing the healtl~ ·ofour community· .
                                                                             1


        and is dedicated to providing compassionate, comprehensive and innovative health care
        -ina safe envil'onment where the patient always conws first. Ail Individuals will be ·
        provided complete, open an.d ·timely acct:ss to the highest quality of care, rngardless: of
        their ability to pay.                                                           ·




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                                       is
                          .. Ti1is a·list .of things that _are important ·foi· you .to do or•kn: ow as an employee of St.
                          . l3ar1iabas. ·Pleas.e ki_ok it over to see 1f you have followed. the necess.a.ry proce·dures and
                                                                                                                        in
                             reci;i'v:ed t.hi~ lnfoj•1n4tion. It can s.ave you a lofof time and .i~_convenie11ce the future;
                               .   .        . .    .   . .         .       .
                             . Have I si-gned i:tp fo1~ all iny ben~fits? ·.:
                          .. Have Tfilled_ out the necessai·y fax. forrris1             .
                              .Do. I understa1id th¢ ~e1jn$ ·of rriy pn:ibationary period? :
                       ..•· Do Iknow ~henfriy perf6rma1jce wili be evafoated? . . .
                       . ..:_ l)o I 0iow the sta11dards tJiafJ     will-l;Jt; evaluated i:_igaiQstT
                           . Have I_attend~ the ~t. Barrtabiis Orientation 'f>!'ograjn? .. .
                            Have l received my photo. identification badge? .
                    .. . .. H:inie .1 .met· t.h.e otJiers wh.o work in iny departinent; arid· d.o: l understand thefr
                 ·: :.. - ·.:_··.resp·On5ihilitie&?.·
                          ··. Hav~ 1 metmy "buddy'.'? · :                 .                    . . . .           .
                             • Do 1 ki10w how my depai'tment functions iii i'espect to ij1e ·test of St. ··Barnabas?· ·
....   ··-
                             · .Hav(!l t l'ead inyjob d~scf.iptio1)/perfoni1artce evalu~tio11? . ·. .· ..     . . .
             · · · . . · .Has n1ys~ervisor explained 1ny responsibilitie$? _.

                            bo l know how the following are haridiect ti1•my deparlJ~ent? ..                 .
                           •       work schedule ..•. . ... :. · · · ·                  •· ·.· pim.ctualify; ·.•
                           •       time rra~king for payfr)lf .                         •. ·.. n0tifyirig 'the sl.1pervisor. iii :-2ase of . .
                           •       hours · · ·               · ·                           · ·absence
                           •       overtime                                             •   dress code·
                           •       meal pe1;fo9s .                                       • ·smoking (non_-smoking facility).·
                           •       breaks                                               ·• supplies · ·                   ··
                           •       payday·                                               •  telephone system.
                           •       paid time off(accruals).                              • personal telephone calls
                           •       attendance .·                                         • parking
                           •       use ()f internet/iinranet(W*i)

                           Do I know the safety and security:procedures in my department?·
                           • . for fire?               .               .       .            .. ·      .. ·   ·
                           •       for an internal disaste1:?
                           •       for an .exter.nal disaster?

                                                                               ORIENTA TJON


                          .In addition to the training and orientation you will recei.ve in your own department, you
                           will be scheduled to attend the St. Barnabas New Hire Orientation Program. This
                           program Jias been establlshed to help all new employees make satisfactory adjustments·to
                           their new work situations. It will be given in several stage.~. It will inclu()e information
                          .with regai'd to the history and purpose of the hlstitution, its organizational policies for
                           employees, and may include a tour of. the facilities. The l)epartment of Human
                           Resources will contact yo~J and your Supervisor with the date of your orientation.


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                                             EMPLOYMENT POLICIES
                                                HiRING POLICY •

      The Depatti:riertt :of Human Res~urces is th~ center ·of aJi personnel activities, ai1d h
    . resp;onsib1e for screening artd coordinating. the selection of qualified applicants bas~e:r O:rt
     th~ following:· :        · ·                      ··    ··                   · ·
                                                    .            .   .   .           .


                                                        by .th~·. appllc~t .lJ1.
                                                    .                        .

        1 • Ai1 application form . compieted                          the Depart1liept of                   Hturian.
             Resources. · ·                   .             . .
        2;. A scr~e~ihg ihterview ln the Department of I"iumai] _Resource_s.
        3 .. Appropriate pre"employtnent te$ting ..
     4. Verification ofreferences; ..
   ..5: An In.fr~rview with the Departrrient Head or Superv•is6t'.       .
     6. ·A Jxi:e1nployntent ph~sicaJ ·examfoatioi1 cis.·requfred :by la:w. · ·
        DeWrntin.ath~n .of el"igibillty _for ·einployinertt: will .be·: ·at the d'iscreti6rt o:( Departm¢nt
        Heads and -Supervisors with einployme11t process to be coinpJeted in. the -Departinertt of
   : Bui1ian Resources.          · ·    ·· · ·   · . . : · · · · ·· ·            · · · • · · · ··       ·   ·    ·

    .-SL Barnabas. is aii Equal Opportunity Emplo.yer; •
  ...    .
             .   .   .              .    .
                                                    -                            .
      We: are always happy ·to • investigate the · qualification·s of lmyone interested· in
                          is
      employment. ·11 the Facility's policy to recruit ?PPlicants and make hiring d~cisfons .
  . . without l~egard to race, color, religion, sex, national origin, age, disability, marital status,
     .sexual orientation~ military status, ·citizenship st-atus or .any other characteristic pt;otected ·
        by applicable Jaw;          ·                                                      ·

                                                         l,JCENSE

   ·In position~ vifhe1:e a license or registration is required, an applicant must show proof of·
    current license or registration before being digible for employment.                   ·

     Upon•hire; an employee must subn~it to the Department -of Human Resources copies.of
    .all applicable. licenses/certifications required for the job, These licenses/certificatiens
   ·will be verified on the appropriate web site (if applicable).
                                                                                                    .                .
    lt is· the ·responsibjJity of each employee to maintain a current license. and 1;egularly
    submit copies of new registrations to the Departmrmt Head. Any employee who fails to
    maintain a current license may be termir:iated or suspended without prior notice.

    his the responsibility of each Department Head to insure that the Facility always has a
    cun:ent license or registration on file for employees whose positions require it, and to
    forward a copy ofeac.;h renewal to the Department of Human Resources.




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                                        wonK1Nc ATST. BARNAnAs
                                          Pll0BA1'10NARV·PER10D



   .AH newly hii"ed el'nployees ifre ccins1de1;ed "p1;obationa1;y'' for the ·eqifrvaleht of three to•
    six nionths from their ·date ·of employment depending          on job ·classification.   Dudng this
    period either the employee may terminat~ his/hei· position without explanation o{further
   . ob).igation, or· St Barnabas may dismiss. the e1nployee without explanation or further .
     obligation. This is a ttia1 period for both employee and etnploy~1: to det~tri.line suiiability
   . a1id inte1:est ii) the Work and to.pr-oyide the opporti.inity fqr
                                                                anadjt1shn~1lt period. )3ased:
      the Supervisor's evaluation; the probationary peribd frlaybe extended To:r a i'ea~on~ble
    011
   period ofiime.        ·               ··             ··                              ·

                                     ..CATEGORIES OF EMi>LOYMENT

   . Regulady Scheduled Employe~s:
        .    -      .     .

    ~·. •· :f'1ill-Tim~ .• .
    : .· •.. Fu n::tiJne empfoyees are.those who are lijred •to );vqrk a teguJa:r schedufo of at
             "least' 35.hours per week;

    •       Part~ Time · .     . .. .     .      .. .   .· .. . . . . . . .. . .       .
                                                                     a
            Part4ime einployees are those who are hfr~d tb-·work foguiar sched1iie of Jess
            than thi1t:y~five (35)hours per w~ek . . .·        . . . .. . . .     .

   Temporary
     .
             Employees:
              .
                        ·

   Employees who          are
                       hired for        specific periocl of time :ro1· part{cular p1:oj~ct or assigmncnt
   are considered temporary.                         .                           .                 .

   •         Full-Time                                       . .,
            These employees are hired for ·a stated pctriod oftime t_o work a regular
            schedule of at least thirty-five (35) hours perweek.                  ·

   •         Part-Time •                                                               .
            l'hese empl;yees are hired for a stated period oftimetci work     a: schedule.ofless
             than thirty-five (35) hours per week.

   ·Per Diem :

                                                                      a
   These are employe~s who may be requested to work on day by day basis, as needed,
   and do not have any-established schedule of working ·hnitrs.




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                                                    ·HOURS OF WO:Rl(
                                                                                                                  .   .   .     .
    The basic workday is 7 or 7 l/i Mms, exchisive :Ofmealtirhe? ahd the basic work week is
       or
    35 37 Vi hailrs. The FacHity reserves the· rlghtto·change the sta1tingtime ofimy WOJ;k
    shift.                · · ·           · · ··       · ·· ··       ·     ·    ··· · ··  ·




  · :N:on~Managenient employe<}s receive twq . fittee1i: :mini1te ·rest. pedods · during each fu.H
  · workday ·as ·. assign('.~ l;iy ·the • Supei'Vi$01:, subj_ecJ to the 1weds. :of the departme11t. ·•
    Empk>yees. are re{itJired fo requesf permission from th.eir Supervjsor when they desire to .
    leave Joi· their rest period _and must notify• t~eir Supervisor when theyretum fa1wloyees
    are not perniitie_d to leave the premises during th~ir i:esf _periods.              ·       ··
                                                                      .            .         .   -   .;   .
                                                .       .
                                                            .       - .- .               .
                                                                                       . .                    .
                                                    . TIME RECORDS .

   ·Air empl.oy~~s are-required to .record thefr daily houi·sJv6rked eleCtrm~itally through tlie. ·
  ..ADP E-Tin~e sys_tein. •You should ask ·your Supervfoor or .Departii~e!lt Head ·to·determin~.
  · where the· Clo(;k. •or·deviee -is loca.ted foi· youf area~ :Empfoyees shail not swipe in more .
   thao' a fe\.·Vrninut~s before· thefrregtiiar shift begins or swipe out more than a few mfoutes ·
    after-their shift e11ds. •· . .                             ·                                                                   ·

                                                                    OVERTIME.
                   .   .   . .          .   .       .                          .
    The Facility discourages overtime wo~k out of con~ideration for the needs of employees. ·
    to have sufficiellt.relief and rest. .Because of the around-the-clock nature of the facility, it
   ·may occasionally be _necessary for employees to work some overtime. Employees who
    are eligiole for overtime under the Fair Labor Standards Act will be paid one and half
    times their regular rate forlime worked. in ex..cess of their nonm1} fu!J-time work-week.

      Overtime must be.•requested and authori~ed by the appmpriate Department Head and
      Administration. Employees will .be expected to work the hours assigned and should n0t
  ·. report for work more than· fi11een (15) ininutes .be{ore the time assigned and will be
      exgieqed to leave their w011k area no later than fifteen (15) minutes after the completion
      of their work shift Five (5) minutes or less worked before or after an employee's regular
    .
      shift shallnorbe counted for pv.ei:time
                                      .     .
                                              purposes.

   Employees will be required to work overtime where patient care is of primary concern.

                                      PHO\fO lDENTWlCATlON UADGES

   Upon hiring each employee will be issu<;;d a photo identification badge showing the
   empioyee's name, job title aNd dcpa11ment. lt is imperative that you go to the Security
   Department to activa~e access control                                  to
                                              the various buildlngs and unit.s within the
   institution. Badges are to be worn at all times while on the grouvds to ensure prnper
   identification. Employ~es are expected to identify themselves upo1i request. Jf your



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   idehtiflcatioi1 badge is lost or stolei1, o(ifyou have ape.nna11ent charige in yom: scheduled
   hoiirs of work or job title; report it to Securlty and tlien fo. Hunian Resoi1rces -.:irid request
   a replacement A charge inay bemade for -the replace111ent ofa .lost card.                     ..
                                            . . ATTENDANCE


  . Because of the urgentn~ture offacility:work,reguiar attendance :by            all employee~ ~s ~ery
  ·. ilnportani. ·If an ·emplo:y.ee is unable to report forwork as assigne,d, heishe mi1~i T!Otify the. ·.
   . Sup.et-visor or Department Head immediateJy .. Such notice i11~~t be givei1 at least one (I) .
  · bout before the start ofthe scheduled ·shifl. Registered· Nurse~ are req4ir:ed to call in at .
   :least two (2). hoi.1r~ ·before their ·se<h,edufo¢. sl)ift, :pa.iJul:e·.to .call on tjme inay 'foad to · ·
   ·dlscipiliiaiy · actiori, unless. adequately explained. .· FREQOENT ABSENCE OR·
    TARDINESS MAY RESULT IN TERMINATION OF EivlPLOYMENT. · fanployees
    reporting siCk ma)'· be 'required to provide a doct9r's J'lote as pro<)f of their illness, ::· .

                                REPORTING LATE        o~ LEAViNc EARLY.·
                               .to
   .Eniploye·es :ini.ist bt; stjre chec;k:with their Supervisorswlw1i they report_late for work or-
   .fin:d .it Ti,eces·sary to -leave early. :Coti1tnOQ '<?OUrtesy requjres a word of expJanatiOil for ..
   ·tiin;lines§: · : Frequerit :tai·diness \V.ill be regarded as sufficient cause foi' appropriate .··
    disciplinar)i actioi1. · Responsibility for controlling tardiness rests with Supervisors.
    Employee's pay way"be docked for tardiness and/or early departi.J1;es,                ..

                                       PAYCHECKlPA Y RECORD .

  ·Paychecks are.distributed bi-weekly. Pay perio"1s begin on Sunday, 12:00.a.rn. and end
   two-(2).weeks"Iater at midnight on Saturday. Payday is the folloWi.ng Thursday, .

   ltecaus.e there are many factors involved in computing your paycheck, five (5) days are
   regufred to prepare the checks for distribution after the completion of the pay period.
   Your Supervis0r will notit)' you when and where y~ru inay pick up your check . . Checks
   wilt not be released to anyone other than the employee for whom they are intended,
   unless \vrittei1 authorization is received. .                      ·

   Jfy01.i: have any questions about the way iri. which your pay ha6 been·ca.Jculate:d; refer the
    matter to your Supervisor, who wiH contact the Payroll Department. Jf any. error has
    been made, it will be corrected on the next paycheck.


                                         PAYROLL DEilllCTtONS

   Only deductions required by law or authorized in writing by employees will be withheld
   frorn paychecks.

   Bfil!~!i.r~<:l. .!?.Y.JiJ'.".Y.;.
  · l. Federal Social Security Tax (FICA).


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       2. i'ederal, State and City inco1ne tax on income earned at t11e Facility.
       3. Assessments by the.federal Gover1.i1nei1t for amo1,1nts owed to the.government by the
          ernployee        6r spouse..·                                                                ·                              · ·        ·
    4.    Oamish1~1ent:             ·
   .           . .    ..
       May be authoi'ized bv employees:
           .



    .1. · U11ifod St.;tt~s Savings Boiids ..
     2. · United Way. .. . . . . . .
   · 3 .. Municipal C!'t<idit Uni.oii. ·
  · ·4. · Supplemental.Life lnsurance~ · ·
   .5:   ·Tax Defetted A1iriuities .(403.(h)).
  · 6.. Ffoxible Spending :: ·. .          .
     7.. •Other deduCtjoris as ~utlro)·ized.


                     to
     As a guide pelp you.:bettei· uri.qerstand ·your.position's i:esporisibilhies, you!· depart.ment ·
     ~nid the Depaitn1ent of l'luman R,esowces, n:iaintain a library ·of job.descripti()ns .for aH ·:.
     positfons in the fostitutioii. :· Job descrlptimrs ai·e not.employinent ~onti-acts, arid they may.·
     be periodicaHy changed by·Su.pervisors, who will ilifon:tl you of such changes;· You may
    .discuss your job description with yout Sl!pervis()r at aJ.lY time, sJiould yo\1 ·have. any .
     questions about yo.14r specific ·diitjes er. itreas of resp6nsibi!ity'. Frpln tiine to tiine you ·
   . 11rny also be. asked to assist your Supei:visor fri updating your' Joh:description            your                                 as
     duties change.                              ·

       If you would like a copy of your jo~ discr,ption;                                           you inay            reque~t one through yo~r
       Supervisor.         ·           ··                                                                                       · ·          ·

    Each employee is expected to perform his/herjob w the best of their ability. Changes in
    the tasks, procedures or methods of performing the work . may · not ·be. made by the
    employee without the approval of the Supe1yi.sor. ·               ··       ·   ·
                                          ..   . .   .
                                                         ·::: . . ..
                                                         .        .    . .
                                                                             .
                                                                                 . ...   . .
                                                                                               .
                                                                                                   .       .
                                                                                                               .
                                                                                                                   .    .
                                                                                                                            :

                                        ·ANNU.ALPERJ?ORMANCE A:PPRAJSALs

   AHeast OJWG a year, by Octobe1' 3 jsi (Full-time and ]'>art-time) ~nd by April 3:01h (Per
   Diem), you will receive an evaluation of your past year's performance. This evaluation
   will be conducted by your Supervisor and is . designed to provide an opportunity to
   discuss your overall performance. Your Supervisor will discuss his/her perceptions of
   your strengths and weaknesses and pr<ivide guidance for strengthening problem areas.
   The .performance evaluat\on \Vil! also be used as a way to determine what goals you
   should set for the coming year.

   Annual performance appraisals for all employees are made a part .of our permanent
   employee record as a guide for management in determining your overall ability andior
   possibilities for promotion. Each employee is responsible for signing the evaluation form




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     as ptoofthat it was received by you. If you disagree \>:itli ~ny part6f the .evaluation, you
     may write a written response -iri the appropriate section ofthe signature page.         .

                                                   PROMOTIONS

     To what~ve~ exte1it--possible, the Facility will prori10te einployees frori1 within.              Because
      of legai".requireiimnts :Of lic'ense or:·professfonal registration and :the levels          of education
    : requit¢d  formany ppsitioris, pron'ioti_cins m,·e not aiways possible; . .                      . .     ....

     Pro;-hotlons     vdn_be det~ri11ined ·ou- an individt1al basis d'epending· on the ~atcir~ ~f the··
     position," _the q~aliflc~tiOris of the ·P.ersoj:i being pro1iJoted; k1;i.gth        of
                                                                                  service, record of
   . at_fendance, an~joh perfor_manc.e. eyaluation.. .              ·     · ·        · ·

       Promotional· opport1:1~iti.es: for .all emplc;>yees.. regardless cif      race;   .color, religion,_ ·sex,. ·
       nafon.al '()rigin,_ ag~, dis.ability; .marital . stat1is, sextialor.ien.tation, iriHitary status  or  ~my .
   ·.. other chara~teriSHc .protl;lCted by applic?bJeJaw~ ~ontinue as a_s_tandard Facility policy. · ...

                                                   ·TRANSFE'Rs
     Tratis:(ers iuay   be ma:ck for in9re satisfactory plaeer.ient of.an employee accor-ding to
     his/her abHliy, •Ernpfoyees ~esiring to transfer. should submit their request \n writing to·.
     the Departnie1)tofHurnan Resources when they know of an open position. To·be eiigible
     for.a .tra1)sfe~; &i{¢1npfoyee mustliave peen. ~lnployed foi· a period of at least one )·~ar . . .
     The actu!:llphys1Cahra1ister should be made m1ly:after suitable replacement is available: :
     Transfen•ecl employees must succes!!fully complete ·a new proba~ionary pedod. All
     transfers m\1st be c;oordinated through·H11man Resources.                   ·

                                          RECORDS·OF EMPLOYMENT

     The permanentrecord of each erripJoy¢e's wQrk history is the property of St. B~r.nabas
     and will b~ ..1riajntai1.1ed in the Pepartment of Human Resources. Th,is includes
     employme11t ·documents, coi11pensation records, performance appraisals, notices of
     disciplinary action, etc, . These records are confidi;;ntial.

     Employees. ~viii be expected ·to keep Hun1an Resourees informed about any change in
     d1eir personal information originally recorded, su.ch as name, address,. telephone number,
     iirnrital stati.1s, and depc11dents, etc., for insurance and tax purposes.

     Tn protect ti1e privacy of our employees, ii is the lnstitution'spolicy lo avoid the release
    ·of employees' information over the tdephone unless an employee requests, in writing,
     that certain information be .given to a designated inquirer for business purposes, or if
     there is some other reason for the infonnation to be given out.




                                                          9:
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                                                         EMPLOYEE GRlEVA NCES

       Nori-Union ErripJ~yees: ·.          .. .                   ·     ·        ·
       A    grievance
                   is defined as a difference between the Facility-and the em1)loyee regarding
       ~a~es;    hours and 'workirtg conditfons~                              .            ..       .           .           .    ..          .

      . B1~ployees 1iot: oii{y.ai:e allowed, but ~i·e enccrnraged to air any:gtievai1ce th¢y inay :have· :
        in regard to' their ·treatment :or condhfons of woi'k ove],_whkh the Facility 1nightbe .
       expected to have co11troL .                                . . .. .                      .                   .     . .         : ' .. . . .
            .        .       .   .       .



       The employee should ·.fast discuss the grie~ance ~Ith .hisfher Supervi"soL i{for ~ny
       reason· this pi;oves unsatisfactory, »the employee may take their cas:e to the Departme1it
      :He~Ci. : Shol)li:l this       prove
                                  inadequat~, the. employee inay arrange a grievai~ce meeting.with
      .the Dlredor:ofHuman Resoiirees . . Ifthe .em.ployee is still not satisfied or the gri.evance"is
      :1lot\esolve{ ·the i1~atter wiH be reylewe9 .yv,ith.the President; or Ms/he.r            wh9se .                      4esi.gnee,
       deCi~fop      is fimiL : · · · ·                 · · ·                                                           · · ··    · ··           ·

       The    Departinent·ofHmnail                   Resources
                                                  is available, by app0intment, fo a·ssistthe empioyee
     .• i1~ s~bmitting his/her. grieva~1ce throu.gh proper channels as stated above: ·        · · ·
 ·· ·· . ti'ili.Qii Eingloye~s • .
      :uf.!ion .Employ~es should c<:ms~1h tl)e Union contract regarding this rnattei: ..
                                                 .             ...        .
                                             .          . . . . ···   .                .
                                                             . ·.             .. . .                    .   .
                                         · .. TERMINATION OF EMPLOYMENT ·..

     . All employee~. i~cluding regular ft.ill-time employees are employed on ~i; ;,~tw.ill'' ·basis
       without ass1.1rance of cpnti11t1ed employment. · Since employment is. based 'on m~tuaJ ·
      ·consent, either the employee or employer i-s privileged to terminate employrnent. It is
       important for the employee's record that tennim!-tion is brought about properly. It is also
       important for the Facility that it have adequate advat1ce knowledge of_an ernp.loyee's .
       desire to terminate.
            .    .       .
       There ar~ several types of termination procedures :
       1. ··· Resignation
              Voluntary resignation. for beth Bargaining llnit and · Non-Bargaining . ui;it ·
              empioyees must be made in writing to the Department Head or Supervisor
              indicating date and reason for leaving. Eaeh employee ls required to give notice
              equal to the initial amount of vacation entitlement for his/her current job.
              class-ification.

       2.       Quitting
                This is the term applied when an .empl oyoc leaves without adeq~iatc notice.

      3.        Lavoffs
                This term refors to termination of employment by St. Barnabas due to· lack of
                work or other non-disciplinary reasons.



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    4.      Discharge                                                    .    .              .
            This is an hn1nediate termination for serious reasons imposed by the a\1thority ofa
            Supervisor :oi· D¢partmerii: Head: Please see Rules o'f Conduoi: in the:       Employee .
            Respons_ibility section ·for a further explanation of the possible causes. for
            .diseharge: ·                                                ·                   : ...

                                                VACATIONS
                                                                             . ...
    .An11ual vacatio.n. with pay .i~ grantecl in i·ecognition of acqtue\l.Se!'yiee ~t> -that employees •.
   • may be free·.frorri their. regul~u.. duties to. enjoy a pedod of.rest and relaxation; Payment of
     vacati-on time wiJJ be at the employee's 11ori11al rate of pay. It.is ¢xpectecl. that empioyees
     will take ~hefr v~u::ation ~s it is earned . . ·Employees who are by. definitjon; .full.:time ·.o~ .
   . part-time regular e'mployees :and who J;iave completed. six (6) conse¢1itiveJno:nths 6f ..
    . empioyment di1ring hiS/hei; presei1t term .of se1;vice are entitled ·to·paid. vacation. Jn. no' ..
    case may iui empkiye~ a.ccrue fo excess of one time his/her anntiaJ allotment of vacatio:r},.. :
    exe::eptwith the_ expreS$ :Written authorization of the President; . .. .
                                                                                                            '
                                                                                 .      .         .
                                                                                                                ~:.




   ..While every effort wm      be   made to give employees the :VaClltioil: of their preference: •.
                        be
  .·. vacations must scheduled .witi1 the einployee's iminediafo·Supervisor- foi· a time which
    •will least interfete with' good patient ·care and· the efficient servic~ ;of the department. ;.
      Aithotigh every consideration will be made to allow the employee to take his/her
      schedul~d ..vacatiw-1; there _may be . occasions when the. conflict · with other employee
      vacation . or \vork. ~clwdules necessitates . reschedtiJfng . of vacations. Conflicts iJ1
                   of                                                            at
      scheduling vacations will be resolved on the basis of seniority the tinie·vacations are
    sched\,lled.                                                             ·
                                  .         .             .

    Non~Bargaining Unit vacation entitlement dep~nds on your Classification and seniority.
    Bargaining Unit vacation entiUement ·will be deterni)ned by the Collective Bargaining
    Agreement.

                                                HOLIDAYS

    St. Barnabas observes th_e following eight paid legal holidays:

                                        . New Year's Day
                                •. Dr. Martin Luther King's Birlhday ·
                                            President's Day
                                             MemorialDay
                                          Independence Day
                                              l..abor Day
                                           Thanksgiving Day
                                            Christmas Day




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    In addition t<i ~he above named. holidays, employees are entitled tOtake four.Elective or
   .free days e~ch year .. Elective days shali be :P_totated oil the basis ()f:one fot each thl'ee
    montl)S of employinent cJqring a year. ·Upon terminati<;in, any employee wm ·not be .paid
   for .ii fott1te h61iday or anEkctive day not takeI1. . · ·      ··     ·         ·      ··
   . .             . . . .                             .     .  . .         . . ..     . .    . .. .
                                                                       ii
   .Since the:F~tility functions everyday of theyeai-; ahd it not pos~ibl~ fo~ all employ~es .
                                    an-
   :fo be offonthe same day,: e1!Jployee may be required fO Wbrk on atiy ofthe patd legal
   J1oiidays indicated       above:.
                                  :However; every effo1t wm be madet6:distrih1,1teJ-I6lidays &nd. :
    Electfve- days<on a fair ·b asis p1'oviding that they wili not interfef('l· Wi~h the workload of
    tlie depai:tinent                 ··     ···· ·         ····· ·         ·· ·   ··    ··       ··     ··

    l. In the eve1'lt a11 .employee is 1·equi;·ed to work on any of th~ tegi.ilarly ~cheduled )eg!!.I ·
         =


      .. holidays, :he/she shall :receive pay ~t t~e. rate ofiime· ai1d one~halfhis/h,er regular pay
          for all-holms . worked Oil the holiday; Jn addition, the employe~ shall' receive ·an
    .. . additioriah1ay off with J;egufar pay wlthiidhirty days .of the holiday, or an exti-a day's
         -pay in lfou the~:¢of .This only :;ipplfos to those employees wh6 at?~))on~exempt \ui~er
             iiie·FLSA. ·.        .              . .        .         . .          . .        .        . . .

    2. Jf ~regui~rlY scheduled:e1~ctive -cir le:g~i paid i10liday falls on~i e;nployee's noi·n:1~1: .
     . : or J'egul~.l'ly scheduled clay:off, the employee shall receive an ·a.dditiemal day's pay oi<, ..
           a day :off with regular p~y within thi1:ty days of the holiday. This policy does· llot:
         ·:apply to ,elec~iv~= free days, only to reeognized iegal holidays; ·· ·  ·

    3. Tf a p~id holiday falls dur.ing an e~ployee's vacation, the vacation shall be exterided·       ···
       ··by an additional day, or a day off with regular pay, as approved by the Department
        Head . . Employees who· ai·e on paid Leaves of Absence or out sick with pay.will be .
        eligibJe to -receive holiday pay when a regularly scheduled holiday falls within .that .
        pericid: Employees who are on unpaid Leaves of Absence or on unpaid sick time will"
        not be eligible to receive ho11dl.ly pa;y when a regulal'ly scheduled holiday falls witbiti ·
        tha,t period.

   4. If ai1: en1ployee is absent on the scheduled work day before and/or the .sche.duled work .. :
     · day after a holiday, the Facility may demand proof of illm;ss, and may: consider the .
       day(s) before and/or after as an unpaid sick leave .

  . 5.        Elective holidays must.be scheduled in advance ai~d with the approval <;if the ·
             Department Head. Once scheduled, elective holidays shall not be canceled except in
             an emel!gency. If you work on a holiday, you will receive anQther day offv.ihich mt1st
             be used within thirty days. Elective days must be taken in the year in which they       ·
             occur, except for the fourth quarter elective day, which must be used by March 3 ] 51 of
             the following year.

   6.         Pay for holidays will be at the employee's regular pay and part-time employees will
             receive .pay for holidays on a pi"o rata basis.




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                                                                                                     LEA VE OJ<' ABSENCE·

       ·Paid Leave of Abseriee
                                             -.                        . .   -              .                   -        .   .   . .
       AJI employee·s are eligible to retejye tl~e.following,p~id Leaves of Absence:
            ·.·       ....     ·..                .            .             ·.·.
                                         .                                       .

       l. Death .of parents, spouse, chi.Id, br()ther, siste(or gni~clp~rent ·~ tl?r~e· (3) w6i:k:irig
          days~· · ·           ·
                                     .
                                                      ..   .
                                                                   .
                                                                        .            .. .       ..     ..   .       .            ..
                                                                                                                                       .

       .2. Mai"riage of a.n ei11ployee - three (3) working days>:

       3. Employees shail be entitled to. one {i) day off;. paid a:t his/her regular rate                                                  of pay for
          the birth: of hisfhet child.
                  .    .   .                               .

       4, Authorized>attendance as an· officlal delegate Qf the FacilitY;. or .t<J; ·spe;il~ at: a.
          Professional Convention; · (This does 1iot include ·attendance·at Union Flinct1ons for :
          J3argaining Unfr employees) .. · · ·               ·       .· ·           ···



    ·. :All employees are required, upon receipt of a subpoena or notice to report fotjmy dut-y, : ...
      · to report such notice immediately to their Superv1sor, ·All Teinibursements for jury duty· · ·
        selyices must be remitted te the Faciiity's Cashier to he:.crediteiftowards the salary                                                  'paid
 : · for this time not worked. (Monies.received for meals arid travel are exch.ided) ':: . . .. . . .
..
       Unpaid Leaves of Employment

     ·. Unpaid. leaves of absences, other than for siclrness, ·are given on a very limited basis at
        the discretion ofthe Department Head. During a voluntary leave of absence, employees
        do.not accrue sick leave, holidays, elective days or vacation time.:

                                                                                                 l\'JA TERNITY 1,EAVE

      ·Amaternity leave of absence rnay be granted for up to 9 months provided the employee
     .. has completed one year of employment. At the end of the lt'.ave the employee .either
        returns to her position or is placed in a·similar position.

                                                                                                        SICK LEAVE

       1.             Non-BargainlnzJh1i1 Em plovees
                      All regular full-time employees will be eligible to accrue sick leave at foll pay at
                      the rate of one day of sick leave for each month worked during the first year of
                      employment. Emplcyees after orne or more years of employment shall be entitled
                      to receive a total of 12 sick days; as of the begim1ing of the second and each
                      subsequent year of employment or anniversary date.. (Sick leave for Pan-rime
                      employees shall be proraied). ·



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           Eniployees •are eligible to itccumulate unused sick leave up to a maximum of 60
           workfog days. ·· ·                                         ··             ·

             After 7 calendar sick days, employees 11;re eligi~le to apply {oi:·disability benefiJs.
         : . Sick leave must be exhausted.before•disability payn:ient C!\nbegi:tl ...·.

           The an1ount of be11efit      is·eqttal to or greater•than the New Yo~k State Insutanc~.
           Law requirements. • : .·                                                   ··· ·       ·

    2.     Bargaini1ig Unit Employees .        .             . .       .. ·. . . . . .·. ..
           Bargahiii}g Unit Eirlpfoyees. should consult the UnJolj Conti-act r~garding sic¥
                         a
           leave. Aftet barga:i~iing unit employee has been Si.ck ot disableci for a .continuous
           period ofJnore than seven (7) .calend~r days, be/she will be paid sick.time in
           accoi:dance with the    pay s.chedule in HR Polfoy)04. •           .         .     .    . .

    3.     Policy Administration •                   .                                 . ··
           a) If an employ~~ is iJiSfructed to remain ho.m.e by t.he EmplOyee•H~~ltli S~rvi~e,
               or to visit the EmpJ.oy~e Health•Service for e,x~mi1iati0ri •or aa:vke, (but is ,not
              to report for .duty} he/shi.shall ~011tinJ.le •t6 ·be: t'¢po1ied ·absent i11\d shall iiot be .
              paid.unless these. days caJ) be C0Ul1t~d as·pakofhi~/hei· sfok.l#ve·allowance..
                                                                             . . .· ..

           b) If an employee. becomes ill dtJrin.g Ji.is/her vacatic)nfa. hx/sh~ • :wiH .conti11µe       on
               vacation status unti): the yacation perfo.d· is expired; .If at the end of the.
               vacation period    the   empfoyee i.s unable to .retu1;~)0     work
                                                                                lie0ause of illness;
                                                                                       to
               he/she will then. be eligible to i·eceive· the sick pay benefits which he/she is
               entitled, ..beginnlng
                              .     .
                                      01~ the first scheduled·work dayaiterthe vacation period . .··
                                            .    . . ·.          .             . .

           c) The lnstitutfon may r~quire proof        of illness f;dl~l ~)ttpl@yee~ i~• order to qualify
              for sick leave benefits . ..·                      ..       .

           e) Employees on sick leave may be .required to be. ~xainined by the Employee
               Health Service.before being permitted to rcturti        to duty.· •·
                                   HEALTH & RELATIJ:D .BENEFITS:

    Basic Hospitalization and Major Me.di ca:! Coverage &nd Dental Coverage, Short Term
    Disability lnsurance, Accidental Death ·and · Dismemberinent •Insurance and ·Lite
    Insurance are provided to specified NQJJ-Bargaining Ui1it employees t1pon the first day of
   .employment, either at no aost to the individual employee (though then,~ inay be a taxable
    component to the employee) or at a contribution level set from time to time. Individual
    or family health and dental insurance coverage is availahle, subject to. the plan document.
    Summary Plan Descriptions have been provided to you that explain the details of these
    plans. The Department of Human Resomces is always glad to help you with any
   questions regarding your coverage. ·




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     Members ofll 99 may be covered -uf)der the 1199/J.,eague Naiionai Benefit fund which.ls ·
     paid for throu~h contributions mad~ by St'. B_arnabas to thatFund.

     Each year:h~ .the Fail (usualiy ()c;tober or Novem.be~),.theHul!i.an Resources J)epart1n<mt
     hosts a "B~erietils }'a1r whei·e ali er,Oj>l6yees:ciu()ea1'il: mo1·e about tlieir bene4ts by
   _ni.eetiJ)g witif l;epre~~ntatives of th~ ben~fit pr~Vid~t'~:    -                     --

    Th ii_Benefits -Fair also. se1;ves   as                of
                                         the: kiCk off th~ :ope11 e11r0Hrne1it. period for those•
   - benefits for- which the employee must --tn~ke ann_    u:al elections as to wl):ether or not to
     pa1;ticipate for the upcoming plan yeiir: · - · - · · · · ·_ __ · ·           - -
                                    EM.PLOVEEJ-IEALTII SERVICE

    -Empioyee i-:Iealth S~rvice . prnvides- pre·erripio)/rrie~t physic~i exainh1ations and -medi¢al -
     care to empioyees for illness  or  acdde11ts.: Eacli empk:iyee# required to_ have ari ~1inual -
     i:ihYsic.ai assessment Which colTipUes whh theN;Y.~:'.Health _C()de. - - - --- - - - ---

                                   - WORKERS': COMPENSA'I'.ION                  -   .-

                  is
    St~ Barnabas self:in$ured under ·t}l~ Woi;kei·~s- :Compensatioii laws ofthe Stat~ ofNe\v:·.
    y ork for employeelj who are injured on the j@b. -the law sets fo11h l h~itations on filing: :
    claims. _For-this reason; you ilmstp(>tJf)i YourS~1perV.is9r im1~ediately after an injury is/
    sustained011thejob.       ·     ·    ·      ---   - _ ,. . _. _    -                  ·        --

                                          - V~Lu~-i-ARY 403(B)

    St.Bilf.nab~s offers a 403(b)Prngrain f~~· its -employees: This ~Hows you to voluntarily'
    accumulate funds for retirement with ·your-own contributions before they are subject to -
    income tax. Additional information-is avaHable in Human Resources.

                                              CmmJT UNJON

    St. Barn.ahas offer~ access to_ -the Mµnicipal Credit Union v,,hich enables employees to
    save a portion of their income via payroll deductions.- These funds earn a guaranteed rate.
    of interest, similar ·to ·a sa:vings bank. Jn addition to the payroll savings plan, the _
    Municipal Credit Union also provides additional flriariciaJ .services such as Share Draft,
    JRA and Christmas Club accounts, as well as loans to Municipal Credit Union members.
    Employees-who are interested in 1J1(ire inform-ation on the Municipal Credit Union may
    contact the Department of Human Resources.

                                        FLEXl'DLESPl~NlltNG PLAN-


    SL Bamabas offers a Flexible Spcnding program which allows the <~mployee to be
    reimbursed on a pr-e1tax basis for eligible Healthqre, D~pendent Car~, Transportation
    and Commuting expenses. The program is ~vailable to non-union employees with at
    least one year l)f service.



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                                                  STAFF DEVELOPMENTAND TRAlNiNG

              .TobKnowlede:e .·
                                      .. _.   :   ..    -.   ,·    .·   .   . .   .       .                            .

            .. Preparation: to perfor111 a.job: is fµnpamentally : the resp6risibility      of employees.. The
            · :Facility .   will; however, ptovi'd( :frairting progr.ains, ·where feasible and . supervisory .
            ... .counseling 'to .. assist empfoyees:;bi'" gaii1il'lg fui,tb6r .knowledg6 .through . which better
              .· .per:fohnance
                        .    ._
                                may·be
                                  ..
                                         achieve{f ·.'filid eventuafpn)1notion
                                       . . . . ..            ·.. ... . .. .  .
                                                                               realized,. .. .       . . ..

             ·Iri$_~rvice Training

              Einployees will be granted time wh.Ue·on duty to attend appropriate in-service training
             .ptograrns within. St, Barnaba$.:. Outside seininars may be approv~ at Hie discretiOri =of
            . Admii1istratioi ·      ······ · · · '                ·                  ·           ·

            · Tuition R.eimb•irsemei1t : :·:

                 The F~cillty :offerfi _tu!iiortreimb~r.$~ill,~1Wto: full~titne- '1~01i~union eniployees witlrat   least ·
                                      who·
               . one yea:r of servicesj         reque.St.to take .·courses that are .worl~ related~· Adininistration
           · .. shall detetmine whether .or            not'
                                                        a eou1•se is j.ob related, . Fot further information and · ·
            ·.·'application forms~ contact the Department-of.Harnan Resourc~s. Unibi1 En1ployees may ·
           ... >be eligible for tuition reimbursement:as set forth,in the co~lective bargaini.ug agreements . .

                                                                                          . ; . : . . . ·. ·.


             St. Barnabas provides uniforms,                 for
                                                    certain classifications of employees, either by direct .
             purchase: or by p1;oviding_ a .uniform. aJ.Jowance. : The method is the decision of the St. ·
             Barnabas Administration.             ·

                                                              . BULUl.TIN BOARDS


.~   .        The official Facility bulletin boards are .centrally Joeated. Notices of events or changes
              which may affect individuals, departments, or the entire Jnstitution wi-11 be posted there.
            · 1t is the employee's responsibility to c1~eck these boards for import.ant notices and current
              events. 011Jy material which has been reviewed and approved by Administration and/or
              Human Resources )nay be posted Oil these bulletin hoards.

             St. Barnabas aiso provides a builetin board for the purpose of posting Union notices.

             NotiGes of special concern lo all departments will genernlly be sent to Department Heads
             and Supc;rvlsors. Notices of special concern to all employees will generally be
             distributed to them with their checks on payday.




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                                                 UNION Mii:M.nERSHJ:P

                           .                         .   ..       .    .   .·    .   .             .                    .
     In accordance with_-tlie'appr.op1·iate contracts.as _ce1il:fied by ihe National Labor Relatfriris -
   . Boatd; St Batniba& recognizes thefoilowing uniorts as the sole-bargaining i'epresentative
    _for the emP,ioy~~--ci~ssH'icittio11s lfsted belo':V: -. .       .     -          . -- .
                                ... '
                        eu;ploy~es}i_sied' in Stipulation -1: ofthe :Contictive Ba~gaining -
                                                                                             ~-.




   -1199 SEilf~All
    Agri;lement' - · - ·                -                                  ··

   . Local:} ;,:_ Ali eu:iptoyees listed in Article I of'the Collective :Bat·gaihing Agree;nent. :
                                    .   .   .·                .                          -             .          .

    -.In accordance, ~iththis tf:cogiliti~~' ~II employe·es ii~ these.j~b: classifications may be
      reqµired to:becorne· ri-iernl:)ers-of their respective union$ within thirty (30) days of the date·
    . ofemployinent;. and··i-riafotafo 1ll'e111bership. in good standillg; - St. JJal'nabas   deduct       will
                                                   .fees
     -union dues i:uid'.appi:6:1n;i~te iriit.iat'lcin- 'from the erj1p)oyee':S pay Upon receipt of a
  __ signed; \¥ritten ·aut11prl.~airon: - - ·           · ··         · ·               - -

                      .. RESPONSIBlLITJES OF EM:Pl;OYEES                        AT ST. BARNABAS-.
    St. Barnabais. }las. many:re.Sp1:msibiJities io_patienrs, to physicians, to its employees, to the
    community and to itself as a fogal entity; . E:wpfoyee~,>like\vise, are expected to -recognize
    their responsibilities for the.'faithfurexecutio11 of the t~sks wh,ich they have been assigne.d
    and to promote tlle best interest of.:the patients through mutual co0peration. Employees
    are especially expected tO·study, and to know in detail, the co1i.tents ofthis booklet which
    has been specially prepared to meet the-ir needs for information an(j direction. In addition
    to the preceding policie's:relatlng to employment, wages, benefits and working conditions,
    knowledge about the following information is vitally important.

                                                 RULES OF CONDUCT .


    Disciplin~.i.:y.Philosoplw: .

   It is the obligation ofevery employee to conform to those {ules and regulations applicable
   to their individual assignments, as well as; all gem'lral regulations which apply to all :
   employees. Unacceptable conduct or violations of sHch rules and regulations shall lead to._
   discipline. -                                  -: · :

   Discharge Offenses -

   Any employee may be discharged; without considering previo1:1s disciplinary actior.i, and
   without prior notice for any act of serious misconduct. The following are examples of
   behavior which may lead to immediate termin~ti0n:




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    ·• Paiticipathig in .behavior that violates compiiance polides or law,
     • .Er)coiiraging; d.irecting; facilitati~g or p_e:fo1itting. behav-io1; that ·violates co1npliance
         :policfos   or. ]~w .
   . • Neglect and inconsiderable treat1nent orpatie~ts .. :
   .•        Discu~~ing :.:confidential h1fo1mation concernhig · a _patient with unauthorized.
         ·. _persc,mnel,: ·.                         ·            ··
       • · c~ridiicl vit.hid1 _constitutes: a crime :in. New Y ~rk ·State, regardless .of wh~ther th er~.
             was {\Ji. a1•testQl' conviction,           ..
    ·•·. insuhor<llri~titii1:. ··
       •.. ihtentionaJ inisstat~nreht or coiic~~lment of facts ill· c'onnectioh with ert1pfoyment .cit
             any inv~stigation, inquiry orother:proce.edings:·· · :··      ·
       • Falsffy.i11.g Hospital o~ Reh_a~llitatfon ~01tti1ming Care Ce11tet records.
       • :possessing'fi~·ear1ns.:or explosives 6n St, Barn ahas property.
      ·• ·ReinoV.aJ:of St. Barnabas ptoperty With()tinti1thorization.          .           ..
       • Sblkitl~g tips or services from patiei1ts. or. a1iy:other person while on St~ :Barnabsi
             pi-operty.:. , · .           · · ·               · ·                       ·     ·     ·
    .•.. :P"unching (}t tamp'erirtg 'vith anothei' employee; s time card~ or knowingly submittin:g a:.
            :tiine·:ca1•d that is i:Iot acci.:!rate. . ..
      • ·. 'Being under the iilfluence of aleolfol or ·narcotics while on duty or reportii:1g :to wol'k:
           ·mideJ'tli~ .fofluence 6f alcqhol o:r narcoties.                                             ·
  . : .•.. Jnterf~f.in::g with th6-\v~rk perforpiance o(an~ther employee, threatening, intimidating
           . or coercing ·ano~her·e11m.lbyee;                                .        .               .
    : ~ . -Fighting on ~t B-ai'nabas property. .                     .                             . .. .
      • · Willfully or carelessly daniaging, defacing.or mishandling St. Barnabas equipmttnf or ·
             pi·opet_ty or the properfy of a patient, visitor or another employee.              ..       ..
      • · Sleepingwhile on duty. ··
      • Willful or careless violation-of safoty, fire prevention, and security regulations:
      • . 1mmoraJ COlldlJ.Ct Or· indecency.
      ~ · Failure to comply with the institution's HlPAA policies


    Tl:ie foregoing e1il.1n1eration of causes for discharge is by way of illustration and shall not
    exclude the Facility'-s right to d_ischarge employees for other appropriate reasons.         ·



                                       to
                             ..                                                                       .

    An  employee may. be subject      disciplinary action for failure to adhere to. policies or·.
    procedures or for any conduct ijetrirnental to the Institution, The following are examples
    of behavior whiclunay lead to disciplinary action:

   •     Failure to report su1spected compliance problems .
   •     Engaging in horseplay, running, scnt11ing or causing a disturbance.
   •.    Frequent tanli11ess.
  ·•     Excessive absence.


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      •   Sniokfog on Carripus> ·
     .• · .Contf:ibutir~g to u1isanitary conditions· or poo; ·11ol.1sekeeping.
     • . failure H»fo.llovv St. ]3arnabas job lnstmctions; verbal or written.
      •    Makiiig any  preparation.   whatso~ve1'. fo.r leaving the Facility prior to .tJi.~ end of tlie
        . sh.ift; ;uiiiess authorized by the S11p.el'Visor.           ·           ··
     • ··• Lohering on preinises during off-duty hours ...
     • ·violatiori ofdre&s ~o~e polfcy;· · ·· · .·· ·            · . . · • . . . . . . . • ..
    ·• CausingJ6sS: 'of niatef:ial or.equipme~t.due to ·carelessness,. negligenc.e or deliberate
          acts.·    . .       . .. . .. . . . . . .                          .   .                .
     •    Wasting· time, -1-oitering or Ieavh1$ place .of work during w61:ldng hours· without
          perni;ission. •           . . .
     •                             or
          \f jolating•a safdy:riile pr:a~tice.
     •    Making false·; -vidous or .malicfous state~11ents about a1iy. employee, the Fa~iljty or
          paticmts.: ·              ·     ·                 ·        ·     ··              · ·
     . • -Praudi1Ientdaimof sick J.eave: ·
       .., .Refu~irig to: do ~s,signed woi•k :
    : • . Pisrespectfol; .insulting· acts or. abusive language. toward :any Suj:>erviSor .or ·St..
           :· J3amabas authority. · •          .
      ·• -Unauthorized. statements to the press.
        • . S;oliciting in w0rking areas and on working,t)me. ·
     • • • Unauthorized photography, videotaping or recording.
        • Engaging indiscnh:riinatory or sexually harassing condllet.         . ..      . .
  .. •. : H~ving an. unauthorized person (i.e. spouse, child, etc.) in youf. w~rk area .. ,
    ·· • . Possessing a beeper or any other electronic paging device on St. Barilabas property,. .
            · unless autho1~ized and/or issued by St. Barnabas.•·

  ·· Again, these offenses are listed for illustration purposes and do not comprise an all
       inclusive list of violations warranting disciplinary action. Any actitms such as those
       listed above can also 'be cause for termination even on the first offense, if the behavior ,
  . •. and/otits effects are serious enc:mgh to so warrant.

                                        CONFlDENTlAL lNJ<'ORMATION

  : . Jn. the process of performing one's work in the Facility, it is possible, to overhear
      information regmding patients, doctors and others which must be considered confidential.
      You are directed, therefore, n~)t to discuss these bits of information outside the FacHity or
      even with other St. Barnabas employees. Even casual conversation with other employees
      may be overheard itnd thereby violate the·right to p1•ivacy of others. Violating the privacy
      of patients is a violation of the Health Jnsurance Portability and Accountability Act
      (l-HPAA) and is subject to severe disciplinary action, up to and including termination as
     well as personal liability (civil and/or criminal).




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      All employee$ afo cautioned i1ot to 'give out information about any patient's c.ondition to
      anyone withol!t specific authol'ization as o.utlined below. To- d0 so may involve you in
      legal .~ct\61)~ :Registered _Nurses at)d Nursing fyta1iagement are the :only 011es authorized to
   -.release thls.fof61;111aiiori. -

     - l1~qrilries ftcirti tfi~nds and i'elatlves are to be .directed to thci Registe~ed Nurse in chai:ge df
  · :__ th._e unit; to·the Supervisor, or to the-Ntirsing Office~ '-            - - -· ·· · ·             ·
                                                                                    ..
    - Inqtl~ties -fi·om-   ~ewspapers,. rndio ~nd t~ievjsiop ~tations,         a1id ·91h~r sources of p~bHc -_
    'foro1·1rtaii6rt•~~-e to he referred     to -the Admlnisti~~tor.respoiisib.le for Pub_lic.Relati_\)ns. __
     Do.i-iot beco11H~ ·invol:yyd_ in discussion about insurance. of a11y type with .patients _or
     visitors. ·-Jilsilrance programs may- be very complex.. All such _questions $hould -be
  -• r~ferred to th~·Admitting and Social Worlc Departments:
  - :·Inquiries-wi~h       regai-d to -the   Faciiit)/s . se1Vkes should _be i•eferi·ed t~Jhe . Di~:~ctor ~f --
    -Adu!issiOqs~• '_·

                                                      DlSASTERPLAN .:

   -·-()ne of the ~ajor re$pon$lbilities of St. Bar~abas in sei·vfr1g the co1i-imunit;- is to pr~~ide
     emergency services_ 9eed¢d in die -case of disaster. . All. eiriployelfS ru:e - ~xpected to b,~ : .- --
     available if and when :a disaster should occUi\ Jn -addition,. everyone should be familiar- '_
    ·with the Facility's D1saster P.Ian; ·a copy           -of
                                                      which is available ntim your Department --
     Head.._A-dmirlistration a1ithorizes the activation of the Disaster Plan. _--                 -·

                                                - • INSUBORDlNA'fION:

      Einployees will be exp.ected to carry Out the reasonable dire~ti~ns of their S11pervisor.
   --_Failure to carry out ·assignments, as given, or neglect to complete_ assignments properly_
      wi-11 be 1·egarded as a seriqus disciplinary problem and maYresult in discharge. _

                                           LANGUAGE BANK PARTICJPATJQN
                                . ..   .          .         .                   -
      -Language -banks are ma1ntained in Communications, Patient-Relations, Human Resources
     -and Nursing offices for the ptirpose of obtaining an interpreter. 1-fyou are a participant in
   -_ the Language Bank program, you will be expected to cooperate and i'epo1t to the :location
      of the patient as soon as possible. If you wish to participate as an interpreter, please
      contact the Human Resoutces Department. _-

                                                  LOST AND FOUND

    lfyou should lose any personal belongings, report the loss to your Depa11ment Head who
    in turn should contact Security. lf you find an articje belonging to someone else, turn it
    into the Security Office.




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                                                            MAIL .

        All emplqyees must have personal mail delivered                  to
                                                                 thefr home or residence. . St~
        B.amabas stationery may be used only forFacility ·bUSiness . . . .

                                P1.mM1ssroN io LEAVE DliruNG womdiouRs ·

       ·.J,f:it be~omes n¢ces,sary for an employee to·l~ve their department or the prernis~ a1irlrig
        :working pouts,. pennissio11
             . .         -        .
                                     is to be
                                       .   . obtained
                                              .
                                                      :from the.· Supeniisot
                                                        .          . - .
                                                                     .
                                                                             or Departnierit
                                                                                   .
                                                                                             Head;
                                                                                           . .. . .
                                                                                                                .

                                              EMP.LOYEEASStSTANCE .

        ..A1~oi101ism, &ug•abuse, emotio~a1 mness, and .famlly crlsi~. ess~11iiah:Y.· ai:e pe1:sona1
       . p.r~blems, But wj1en personal probfoms spiii ovedrito.ihe w6rkp1ace; affectiiig d~ly .•
         behavior a11d intefferjJig with job performilfr\>e, they i:tis:<;> beCOill\! Irianagemenf.~ vi·phl¢iti, ..
       .fo~cii1g St Barnabas to take.1;esp6nsibilii)iJot 1dehtifying a11d a5s.isting troubled              .. ..
         e1nplc))lee~L . · · · ·           ·   ·     ·· ·                ··                  ·   · ·

     .. ..··.tvfanage1nentls expec;ted ~() utilhe the services ofthe Einployee Assistance Pro~~am .· .
:·•.. · . ·. (EAP); thioHgh the fanploy.<ie Health DepartlnenJ, to motivate $mployees to accepnhe.: ·: .
          ..·prqfossiomil help they   need.    Employee Bealth Servic~ :wHl me.et with the employee af\d :.
          :·•. 1nake <(referral .for professional counseling and/or treatmeni:wnen appropriate;·.... ·· · .••
                                                                                     of
               EinploYees are :affo1;ded the opportunity of taking aJnedical leave absence enter  to        a·
             ·speciafsubstance .or psychiatric program that addr~sses the specific need of the. ··
        ·. : ·employee: The l;easons for.medical leave are kept in strict confidence.

                                                     Dm~ssCODE. · ·


         As·· a11 empfoyee, you .are a representative of ·st. Barnabas. Peep.le ·get an impressio1~
         about the InstitntiOn from your appearance as well as your conduct. The nature of your
         job requires cleanliness, neatness and good health. If you wear a uniform, be sure that it
       · i~ complete, clean and neat. Every employee is expected to wear conservative attire.
     ·.. Miniskirts, halter tops, tank tops, and other revealing attire are inappropriate and are not ··: ·
     ·· to be worn in the Facility. In addition, all jeans are unacceptable with the exception of
      ··.employees working in the Engineering and Laundry DepartmentS; ;ind only them with the .
        .permission of the Department Head.                        ·           ·

      · Hosyiital and Rehabilitation and Continuing Care Center uniforms should be worn by
        personnel in those job classifications where uniforms are required. Shoes nrnsl be cJ~an .
     ·• and polished. Safety, comfort and appearance <Jre the maiH consideration for acceptable ·
        footwear.




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                                                     PROPERTY PASS




                                                   . .SAFETY PROG~AM

    .A Safety Committee nieets regulai:Jy t6 proinote the ·Facility':s s~fet)': E~1j:Jloy~es are
     asked to cooperate fo helping prevent injury to. themselves, other employees; patients arid
    visitors by ()bSerying the fo.Jlowing rules:: . . . . .             .   ..      .           . . . . ..

    l·. ::   ~{~epinforlned.· offlr~ .rulesofthe
                 .   .                 ·. .   _:
                                                  Irist.itution and yout:duties
                                               . .. .. . ... . .
                                                        ·         :   .    ·..
                                                                            : .
                                                                                 in c~se of
                                                                                ... .    .. & fire;
                                                                                            ' ... .

    2. ·Avoid a:cddents by. elim~riating haiants~ .:: ...

    3 .. :Itep<wt to your Supervisor.immediately ariy uiisafe copditiori;·si1ch         ai; .
               a) Wet or slipperyJloont            ..·     . .                              .
             . b) Equipment left in halls or o:n walkways:
            ·· c) Defeetive equipment: .:· . . : .
                                         of
               d} Car:eless handling equipment. :      ·:. . . . .
                e)Use of combustible materialS near              open
                                                           flames·.
               f) D~ngerous situations, etc.
               g) Blocked fire doors or exits.

    4. Always be especially alert for safoty factors when usirig wheelchairs and stretchers.

    5: Never operate electrical equipment with hands wet.

  , ·6.. When not sure, ask!

                                                    SECURITY SYSTI!iM

  ·· lt is the Facility's policy to do whatever is necessary to safoguard everyone and
     everything associated with St. Barnabas. Uniformed guards areemployed .. to assist in this
     wovk. Every employee, likewise, should .be . quick to report any sm~picious person or
     circumstance to his/her Depa1tment Head, to the security officer or directly to
     Administration. Employees can also help by observing t}le rules and regulations of the
     various departments with regard to the proper security of St. .Barnabas property.

   Each employee will be issued an ident!Jlcation badge at the time of ernployrnent. This
   badge must be worn at al! times. Authorized representativen1fthe institution may, at any
   time, ask an employee to show his/her iclentiJic:ation badge.



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    St. Barnabas cannot be responsible for loss o.r damage                    to
                                                                     the personal ptopei1:Y oi'
    valuables of employeesi patiertts, >or other usil1g the Facilitis !)remises; It is therefore
    suggested that .excessive amounts of money or val4ables riofbe,brought to the lnsti~uiio11, . ·

    St.' Barnabas rwoperty rimy not .be T~riloved from the -premises ex,cep{ by wdt;ten
    authodzation from "Ad1tihilstrat.ion. Such removal;· with.out ;:t:uthoriiatlop;    or theft of St.
    Barria~asptop~rty ~,,;in~~neason for immediate db;charge. · ·          ·
                                            .       .       .    .. - .
                                                .       .    . .
                                           · ·INT-OXlCA tioN
    -                                                             . .     .

     r6ssession' or comii.:imptfon   of into~icatirig b6verag~s: On St; Ban1abas preii1lses by
   , ei'npfoyees is forbidden .. Empioyees who report ·to wodc in an intoxitated condhi6i1, br
     who- di·ink akoholic beverages while on duty. will ·be subject to disciplinary actions
   : 1nclt1dini?; dlSinissal Enii)ioye~ are ~sked to. reports i1ieide1its o{ apparent l.ntoxication, ·
   . either among emplbyees or others, to their superyisor irriiriedfately ...

                                                        DRUG USE

    Possession :ol' use· of -illegal &L1gi is als:o forbidde1i and )he s~e rule·s that apply to
    alco.holic beverag~ . alS() apply to drugs. Employees whO are taking meqit;ations that may
    impair the.ir j.udgment or performanc~ (i.e.; pharmaceuticals that .cause drowsiness) are
    expected _to report this to · their Departi_ne11t' f:Iead~ w}iq will keep such infonnation
    confidential. ·              ·                   ·     ··    ··

                                     SOUCJTATION PROTECTION

    In order to protect employee.s ·from any form of sol i~jt~ti0n (i.:e. raffle, 9harity drive), it is
    strictly prohibited for anyone to solicit employees or to solicit patients or vis·itors ~n any
    matter while on the· premises, or on St. Barnabas time unless authorized by
    AdminislTatioB. Violations of this policy wiH subject ·employees to disciplinary action.
    Employees who discover persons nrnking unauthorized solicitations should repol'l this to
    their Supervisor immediately.                            ·

                                          . VISITOR'S PASSES

   All visitors at St. Barnabas will be required to pick up a Visitor's Pass in the Main
   Lobby. Visiti.ng hours are set by Administration. For specialty units, such as ICU, the
   visiting hours may vary.

   Jn order to avoid unnecessary disturbance of patl<:mts, each patient will be allowed no
   more than two visitors at any one time_ Empk1yees are requested to visit patients only
   during normal visiting hours. Visitors found on Nursing Units without visitor passes
   should be sent to the main lobby.




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                                                  ETHiCS

    .All persons who work at·$t. :Barnabas ·share iii the re$poi1sibility          of
                                                                               opservlng a code.of
     ~thics, .. This code tequfres truthfuhieSs, hones~y ai1d pe1~so!ial ·integrity. in all activities.
     Furthermore, all employees share; to some degree, in the responsibility .for obsfa;ving the
     code ofethics that regu'Jates the. activities· of both physicians and tiurses. In general, the
     following applies to all St. ~amab~s einploy~es: · . •           .             .     .    .. . .

     1. Physicians. alooe have the traiiting and legal .right to diagnose and ·order. treatin~nt for.
        illness and iiijtiries. However, all workers play a vital role in patient care and should
        act with due propriety. •              ·    · · ·. ·· · ·               ·     · ··       ··

    2, Paiiehts are at all thnes to be treated with dignity and compassion,' even if the patient
       ·appears distraught .or difficult to,'m~age;~ All inforniation concerning patients or. St
        Bai'nabas business~ .must be held in strict confi!,ience. ·   .       . . . .

    3. Employees are, not to'. burden .patle~ts             or   'other e111ploy~es with own pe1:sonal
       problem·~.      ·
                                    ..    . ..   .· . . .
                                CORPORATE COMPLIANCE PROGUAM

  .· . Every .workpiace h~s ··~· c0de of ~on duct, a series of rules and regulations that gtiid~ ..
  . emp!oyees in their day,,;fo-day departmental and fousiness dealings. Corporate complian<ie .
     · programs set forward those standards of conduct that all personnel are expected to follo\v ·
   : and allow the employees access to an individual (the. Compliance Officer) to report any .
     action the employee believes to be a violation of any statute, rule, regulation .or stated .
     facHity policy: In the health-care industry, where complex state and foderal regulatioi)s
     increasingly abound, effective compliance·policies are now deemed essential.        ·

    Com1jliance covers a wide range of situations, from general business proct<dures -to
    improper behavior, stlch as violating prohibitions against accepting expensive gifts, to
    unlawful situatipns that ]K)ld potential civil and criminal liability.                          ·
     .     .                                                                   .              .         .
    BiHing procedures are among the most frequemt and serious violations cited in health
     conmliance programs. St. Barnabas is committed to submitting accurate reports and .
     clai1~s to the Fedel'al a1id State .governments and. we prohibit the knowing submission of a
     false claim for payment from a Federal or State fonded health care program. Such a
     sHbmission is a violation of Federal and State law and can result in significant
     afilministrative and civil penalties under the Federal False Claims Act, a Federal stalute
     that allows private citizens to help reduce fraud against the United States goven1ment by
    :filing a "qui .tam" action and becoming a "whistleblower". In addition, .in New York
     State the submission of a false claim can result in eivil and criminal penalties under
    •portions ofthe State Social Services Law and Penal Law. This is more folly described in
    the Corporate.Compliance lVlanual and related documents,




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     To .assist the Facility ·in meeting ·its le_gal and· ethical 6bligatfons, any employee who
     reasonabiy suspects 9r is awai·e of~he pl'epfil:ation.ol· submi~sio11 of a false claim or report
     or any .other potential fraud; waste and abuse relat~d to a Fedd·al or Stat~ fonded Jiealth.
     care prograin; like Medicare or.Medicaid; is regu1red to report such 1nforinati9ii ta ·11is or:
    ·her_ supervisor or the •St.. Ban1abas. Compliarice Officer: Any eniployee who repoi-ts sucl)
     inforinatiori. will have the ·right and opportunity to dc)·so anonyntously_ and 'will· be
   . protected agah1stretaliatioi1 and intimidation for coining fonvard ·with suchinformation
     both under the FavUity's intem;;ilcomplia1ice policieqmd procedures and Federal and.
    ·State law. However~ St. Barnaba~ .does {etain the right to:.ia~e appropriate action against .
   · any · employee .M1l10 has participated in a violatio11. of Fe.der~l or State law .or ·fa¢ility
    -~~-               ..          .   .      ..     .. ...     ....      .   ..           .



    St Barnaba_s_.persoiinel are· encouraged to raise :ahy.·questiops· they may have about
    compliance~ either with tMir supervisor. or· with tM St;· Bai·naba$ ·Com:pliart~ Officer..
    Employees. are          also
                        encouraged to report             any.
                                                      que~iionahfo practices they obs~rve so that ·
    corrective action ma:Y be. tak.t?n. . Jn ~dditi.on; e1nployees are re9ilired" to read the Sf.·.
     B~r1iabas :complla17>Ce Manual whfoh mor¢. fully :oe.sctibes the Ccidc of Conduct, has
   . detailed descriptions of our compliance pnlici~s -and reference$ ffie refov&nt fa\vs relating··
    to  coin_pliance.                          · · · · · · · ··     ·      ·        ·     · ·· · ·

   . ·Effective con1pliance 1neam; law-abiding; hoi1est, trust':Yorthy behavior in all business
      dealings.- the.foundation upon which ihe FacilityJsintegrfty arid reputation solidly stand.·
      This applies not (lnly to employees, but to agents, vendors and contractor~ as well ..

    The St. Barnabas Corpor-ate CompHanceOfficer can be reached at Ext. 3389 or over the
    dedicated compliance voice mail at Ext. 3705. All ciompliance phone calls are
    confidential.                                                       ··    ·

                                                   Dlii-FlCJT REDUCTION ACT

     Ptu'suant to the Deficit Reduction Act ("DRA"), St. Barnabas Hospital is required, :as .a
     condition of its participation in the Medical . Assist-ance Program ("Medicaid"), -to
     establish written policies and procedures that inform. its employees, contractors, and
   · agents about the following 1     ·   .      .
         • St. Ba.niab&s' internal policies cove.ring fraud, waste and abuse;
         • The federal False Claims Act and any similar law under the State of Ne.w York
             that governs false claims and statements.
         • Whistleblower protections under federal and State laws.

    The Corporate Compl·iance Plan outlines and expiains the structural and operational
    elements of the Program, highlighting St. Barnabas development and/or adoption of
    written policies and prncedures covering compllanoc, including, without limitation, St.
    Barnabas' Corporate Compliance Policies & Procedures which details the structure of the



   :J   See 42 U.S.C:. § 1396a [nJ[68]1A-C]


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         .                                      .
       Pro~ram and establishes prohibition of fraudulent billing and other improper business
   . practices ...


   . FALSE CLAIMSACT.ahdSTATE AND FEDERAL LA. W . .
     The False° Claiins Act.(''Ft:A"i provides, i1) pertinent pait; that: (a} Any .pe1;son wbo (l)
    knowiligly ,presei1tS~ ·or causes to be presented, to an dfficer or employee of the U11ited
                                               of
    States Government 6r a n'lerriber the Anne•d f                 o)·ces                      a
                                                                 oftbe Uii)ted States false or ..
    :fraudulent C!aiin for pay1~1ent oi: approval; (2) knowfo$1)1 makes, uses; or causes t(rbe
    made o.r used, a fi;ils.e record or.statementto .get ~ false or fraudulent claim paid oi·           .
   •approved by the. Government; (3) Gonspfres.to defraud the.Gov·eri11nent by getiing a false
   .or  fraudulent c~aim pa]d or approved by the <Jovei;mrient; or (4) knowingly makes, uses,
    or C.ause.sto :be. itrade.or used, a false record 01' statement to conceal, avoid, or decrease an
                     to
   ·obligation pay. or transmit mqney qr.propeiti~9 ~he ,Go:vermnent, is liable to the United
    States Government fof .a civilpena1ty of riot le.ss that1 $:5,000 arid not more than$ IO;OOQ, · ·
    plus 3 times the al1104nt .o f dainages. which the .Government sustains belcause of the ac(of ·
    tlutfp(:i~~on. Jn.suin;. t]ie·F~lse Clairns Act ip]poses liability on any .persoii .who subm.its a •
    Claim to the .federal govenjine1)t that he or she knows .(or shoul,f know) is false.           An :• . .
    example may be·a physic.i~ who si.tbinit.s a bilho M§ldicare foi: inedical services she·.·· ·
    k.iiows she hairnot pro:itided. The:False (;la~fu{Act also impose~ liability:on an individual
                                          a
    who may knowingly submit false record fo order to obtain payment froin the
    government, ·An'. ,fixan1ple ofthismay fo.~jud~·a. govepunei]fc\)!itractor w}lo submits . ..
    records that he/sh~ kno\vs{er should knoy{) are false and that indicate compliance with
    certain conti·actu.al or regiilatory require1nents. The third area ofliability includes those ·
   .instances in which .someone m·ay obtain 111011ey from the federal government to which he ··
    may ·not be: entitled, and.thei1 ~1ses false statement:S or records in order to retain the
    money. An example ofthiS so~called "reve.r se false claim" may include a hospital that ·
    obtains interim payments from Medicare throughout the year, and then knowingl)' files a
    false cost report at the end of the year in order to avoid making a refund to the Medicare
    program. In addition to its substantive provisions, the FCA provides that private parties
    may bring an action on belmlf of the United States. 31 U.S.C. 3730 (b). These private
    parties, known as "qlii tam relators," may share in a p·ercentage of the proceeds from a111
    FCA action 61•settlemenr. :Administnuive Remedies for False Ciaims (31 USC Chapter
    38. §§ 3801-: 3812). This statute allows for administrative recoveries by federal ·
    agencies ..·, .

   The following.are the New York State Laws that governs false claims and statements:
   Civil and Administrative Laws: New York False Claims Acts( State Finm1ce Law
   §§187-194), Social Sei'vices Law, Section 145-b - False Statements, Social Services
   Law, Section 145-c - Sanctions, B) Criminal Laws: Social Services Law, Section 145 -
   Penalties, S0cial Servii;;es Law, Section 366-b - Penalties for Fraudulent Practices, Penal
   Law Article 155 - Larceny, P~:nal Law Article 175 - False Written Statements, Penal
   Law Article l 76 - Insurance Fraud, Penal La\v Article 177 ~Health Cnrc Fraud.

    Whisileblower Prolec!ion
   -     ------,-o
                 . .·- ·
   2
       http:.//www.omig.ny.gov/dataii mages/stori es/frelevmitJca.. _s·tmutes_.. 122209 .pdf


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     Federa!False Claims Act (31 US.C. §3730(1~, and New York State False Claim Act
     (Staie Finante .Law § I9j) provides protection ·to qui tam relafors who a1:e discharged, .
     demoted, stlspended, threatemid,hitn1sse<l; or: in.any other mani1er discr.iminated. against
     in the terins .arid co1iditioi1s· ofthek empl6y1ne1itas a.resu It of their furtherance ofai1
     ildiofr u11:dettbe FCA ·3'. 1 V:s.c;:.j 73:0(1~):      .· ·· ·   · · · ·· ·           · ·· · ·
                    .   .           .     .   . .   .   -   .    .


    New .York LaborLa~§740'lindNe;,,, YorkLaw.§741. : · .·                         .     . .
    An ·etnpfoyer and ahealth care e1i1ployer may i1oi take any· retaliatory action agair\$tiin
       employee .ifthe· employ¢e disclbses fofopnatio11 about the e111pfoyer's poi ides, Pi'actices
       or :ac;tivitle~ t0 a regrilat6ry, Jc·nv ertfoi·cenieut:or other $i1nilar <i!gency or Pl.!b1fo official.
       §740 :-Protected dfaclosµres are those that ~sse1t that tlie employer is iii violatiqn of a :1aw
       th~t ci·eates. a :Substaritiai '.and sp~cific dange1; H.'lthe piiblic health and s~fety or. whfoJ1.
       constitutes·health·care fraud under Penal La'w •§177 {knowingly filing, with l!ite11t to .·
       defraud, a daii11·for.paymenf~hat·itii:e~1tionally has 'false infoniiatiori or 6missions)~ §74i
       p)·otected .disCiosures ardhose that .assert·th.at, jJi. good. faith, the empl~yee belieyes.            .
       c~nstitute itnprope1' quaiity Of patient ca,'e. Th¢ employee's disclosiire is pi•citected oi1Jy if.
       the empioyee.fii:St proi1ght up the lllatter: with a supervisor and gavetpe empiciyer a: . .·
       i·easonaµle oppo'ri:µi1ity_fo ·Correctthe:alleged v]olation ..If an employer ta_kes a:I;etaHatory
  .•. actfon ·against the empfoyee, the employee may sue iii state court for i-einstatemeni to the.
  .. same;:ora~ ·equivalent position, any'lost back wages and benefits and attm'11eys' fees'. If
   . ·.the Gmployer is a l1ealth provider arid .the court finds that the employer;s retaliatory action,
  : . wa~ in bad faith, it may impose~ civil penalty of $10,000 on the .employer~. · · · · ..

                             . .·.: .·· sii:xu~ HARASSMENT AND J)JsCRJMJNATJON

   ···St. Barnabas is committed to. creating a work environment free of discrimination or
   .. harassment. Discriminat.ion against and/or harassment of any employee based on· ra~, .
     ·color; · religion, creed, sex, · national origin, citizenship, age, disability, ethnic ·
      predisposition or carrier status, martial status, sexual orientation, . or any other
      characteristic ·protected by applicable law ("Protected Characteristic") · is illegai and
      strictly prohibited. Every employee is responsible for complying with this policy.

     Federal,st~te and loc~i laws also have made plain that. sexual harassment of an individt;al
     in empfoyment is illegal. St. Baniabas prohibits sexual harassment of !ts employees in
     any form, whether committed by supervisor)' or non-supervisory persc.mnel, management,
     vendors, visitors or. patients. Regulations issued by the Federal Equal Employment.
     Opportunity Commission define sexirnl harassment as follows:                      .

    Unwelcome sexual advances; requests for sexual favors, and other verbal or physic&!
    conduct ·~fa se.xua] nature constitute sexual harassment when:

                  ].                  to such conducl is made ei1her explicitly or implicitly
                            sulnmi~sion
                              a 1erm or eonditionofan individua/'semployment; or

                 2. j·ubmission 10 or rejection of such conducl is used as the basis
                 for employment decisions affecting .wcli individual; or


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                      . ~ .. . .such ·c~n<fuct- h.~~ .the purpose 01" effect of unreasonably
                        · jnferfering· ·wUh ". an indiv~dua/ ·~ work. per:fqrmqrtce or creaiing : an
           .   .. .   . .
                            ::· .intimidati1ig,: .hostile   or offe-mive worJcing inviiomn.ent ..
         Exanij>Jes of 00.1duct :which tn~y constitute unl~wful . sexual foiras~.qlent ·inilude, but are ·: ..
       •not . limited to:. unw.~Jcome ."sexual .a.dvances{ unwanted . touehing :"of.:a.: sexual nature; :.·.....
     . offen~ive verbal .or non-verbal :cominunication of :a·sexuaJ Jiatl,1re;, or: sexua)iy'"gr~phiq; ~i .; <. ; ; :
      .. sexua.tly offensive m~t$ri.&.I$ Ot :photographs ..Exampl~s: of .conduct whicfr may GQI)stitute .:.
       "u1}Ja\vful discriniinatiori.:orhai;~s·sment iriclude1 but ate not •:Jhnited "t()~ rt;fusing:t~ ' h.ii(ij: :"· . '·   ..
     . applicant or tern1inating .f:Jri ~niplOy~e .b,e~use of ajly Prote¢ted. Ch~cteristic; mak,ing :.
         tacfa( or· ethniCsluri> :or Joke's;"or. exhibiting racist gr8:~.~~ or ~ilrtooti~ . . 'th.e ·behavi~~ · .
         des~ti1Se~r4i· this ·paragraph is ·unS:coeptable: both -in tne workplace itse1f·and:.6ther work .
   . .".:r~lated ·setti~~s; ·:s#~h as .busfoe$:. trips·. ai1d .St.. Barnl!lb~s : spcmsored :~r :relitte<i. ~odal . :.·
    :.. events. :       ..                                                                 ..

      If yoii 'b¢.J.ieve that .you have h~i1 subject tb.discrimination·tir harassment, w.e eritolirage ' .
      you.to ·promptly notify the:.~ffende1;;.pm:ticularly jf such ind.ividua:J.is 8; co;w6rker,.that his :::.
   ·'. or her "behavior. is 1.Jnwelc0.ine· and· inappropriate and that" ymi: warit:the· behavior"to .stop
    ".:. immediately.· However,.if you are uncomfortable confronting:tfae ·alleged:v.vrongdoer for
        .any reason~ such as' beCause .(1) he or she is a supervisor or high level                  member
                                                                                                    Qf
    :· management (ii)             of
                               the severity ofthe conduct ..or (iii) informal, direct .cGmmunication
· · : . was unsu~·cessful, tlie·St..Barnabas reguires ·that you promptly. report. the··conduct, either
      · verbally or in writing           to
                                    management, as followsr Keith Wolf: Ext 6500 ··or Deborah
         Schneider, Ext. 5813; however, if you are uncomfortable discussing the matter witli ·
         either of these individuals for any reason, including because either CYf them is ·believed to                  .·    ..
         be involved in-the con<luct, you must instead report the matter to the indiv-idual Who runs
         your specific department. ·                                                   · ·      ·

      Any St. Barnabas SUJ>6rvisor or manager who receives .a rep0rt or .oomplaint of
      discrimination or harassment must repert that alleged offense immediately to Keith Welf;
      Ext. 6500 or D~bomh Schneider, Ext. 5813, and await"instruction . .·

    . All complaints .wili be investigated. promptly and . thoraughly . and, if appropriate,
    · corrective action will be taken. · ·Any employee., who violates the policy against
      discrimination and harassment or engages in .conduct contrary to this policy, as
     ·determined in the Facility's sole discretion, win be subject to disciplinary action, up to
      and including tennination. 'Ille ·complaint procedure outlined above also must be
      followed if you believe that .you have been subject to discrimination or harassment by
      third parties, sm~h . as vendors, vis-itors er patients. Upon receiving knowledge thereof; the
      Facility will investigate and if St. B.amabas, in· its sole discretion, detennines that such
     .harassment or discrimination has occur.red, St. Barnabas will seek a~propriate .action.




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    St Barnabas         will
                        not tolerate retaliation agaipst ariy individ~alwho makes a report of
    hru:assment'ot ·discrimination,. provides iriformatio11 conceining such. actirnisi or· opposes ·
    any acti611 yvhi~h violatt;S this policy; Any pe1·son found_ to .have violated St. Barnabas'"
    pr0hibitfon agaitist retaHation willbe subject to. disC!plfoary action; up to arid including
   . ter1nii1a.tion.: · · · ·· ··                ·                               ·   ··         ··       · ·· ·    · ·   · ··       ·. · ·
    -               .    . . .   .   . .     .                    .                                                                 .        .

   . We:understand that.these matters cah be qµite ~erisitive and win hai1dle theirt accordingly:                                                •· •
      If you have. 8JIY c,]l.l:estjons aboi1t this policy, including how to make a complaint-, ·please :·. ·
  .• : c:Ontact-K~ith Wolf, Ext. 6500 or Deborah Schneider~ Ext 5813. ·              ·.           ··

                                            . INTRANET & INTERNET USAGE .·
     ...                                                                                                     .                                   ..
      ·Information ofinterest or importance to facility staff is posted·at the intrariet site: Types ·· .
   . 6favailable .inforrnatlon Include p6Ifoies and procedures, ·am101111ce1nerits, calendars:of .· :
  •.. •events~. clinical' protocols and. telephone ' directories.. y 01,l may access the intranet -at ...
   ·•·http:/ishhwiki/wllWI-ioi1ie/WebBon1e: ·You may ·~ccess the St. Barnabas internet web site: •.
  ''.at VV.\VW.st):iari)~pasl1ospit~l:org.                                           .' '            .              .           '

   ·Use of.the intet1rnt must be approved                       by your adrhinistrator arid for· work purposes only:··
                                                       . A CLOSING WORD .
                                            ..            . .                               .
                                            .:       . . ..           .. .   .       .

    The st~te1n~ht~ c,ontairied in the fanployee Handbook about our personnel policies,
    employee benefits; and rules of conduct at St. Barnabas Hospital and St. Barnabas
    Rehabilitation and C0ntinuing Care :Center, are in a condensed form. This handbo@k
    does not· detail all conditions of employment or: personnel policies in relation to the jop
    duties. However, jt              will
                                give yol.! an excellent·amomit offriformation concerning what
    you can expect fro1n us and what we expect from you in return.

    This is not a·contrnct of employment. Subject t0 an applicable collective bargaining
    agreement or s1~ecific employment contract, any individual may .voluntarily leave
    employment upon proper notice, and may. be terminated by St. Barnabas, at wit!, at any
    time. Any oral or wrilteri slaten:1ents or pro.mises to the contrary are hereby expressly
    disavowed and should not be relied upon by a prospective or existing employee. The
    contents of this handbook are subject to change at any time at the diseretion of the
    employer.

    We hope you have read your handbook carefully and will keep                                          it for further reference. lf
    you have any questions concerning t,he policies or benefits outlined in this handbook,
    please contact your Supervisor 0r the Department ofHuman Resources.


    Written and Published by the Department of.J·lunrnn                  Resource~
    Revised l'l!l3




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                                      TRAVEL DIRECTIONS·

    From Queens· ot Long Island:.

     Cross Throgs .Neck or. Whhestone Bridge; . Take C:fr>ss Brtmx E:X:ptessway
   ·.westhql1nd to thfrd Avenue Exit. .Turn right on Third Avenue (N) anQ. coMinue.to
    ·Quarry Road -~ first fight aftet JSOth Street. .. Enter Quarry Road Gate,: : :. .

    l<'i-orii.Westcbest~J' Cou}1ty: : · ·
   1. · Take Hutchinson River Parkway oi' New England Thruway to 'Pelham Parkway
       ·westbound. . Pelham· :Parkway becomes · ·Fordham . Ro.ad.           at.
                                                                              B£otii. Rhre1·
        Patkway. Follow .directfons below for immber (2)~            ··        ·     ·       ·
   2. T~ke    Bronx River Parkway fo F.o rdham Road ex;lt. . Take Fordha1n Road             :to
       Arthur Avenue. ·Ti,riT1 left and go _several blocks- to. ,back of hospital. (.Q.uar:i-y ··
      . Road) Enter at Qtiarry Road Gate; .               .                 .        . ..

  .::F,rom: Manhattan: .
  . . ra~e •Major Deegan . Expressway or Harlem River . Driv~ . t9 C!·~ss:·, BrnnX..:
     Expressway eastbound to Webstei· A vernae exit. Tum left on Webster Avenue (N)
  · and ·continue ·10  180111 StTeet, turn right on 1801h Street and contimie t~. Thifd .
  .·_Avenue. __ Tµrnleft .and then right onto Quarry Road. Enter at Quarry Road Gate'.. :

   li'rom New Jersey:

   Cross George Washington Bridge onto Cross Bronx Expressway eastbound and
   continue to Webster A venue exit.                           . . . .         . .
   Turn left o~ Webster Avenue (N) and continue to 1801h Street. Turn l:lght on 180!11
   Street and continue to Third A venue. Tum left and then right onto Quarry Road.
   Euter at QuaJTy Road Gate .. · .

   Public Transit:

   Metro-Transjt R.R. t0 Fordham Road Station. Transfer to Bus #Bx 55 South to
   l 83'0 Street.

   IRT Subway, either #5 Lexington Avenue Express (Dyre Ave.) or #'2 Seventh
   Avenue Express (241 51 St. White Plains Rd.) to 149 111 Street and Third Avenue,
   trnnsfor to Bus #55 North to l 83td Street.




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